685 F.2d 326
    UNITED STATES of America, Plaintiff-Appellee,v.Mark Edward CAIN, Defendant-Appellant.
    No. 82-1064X.
    United States Court of Appeals,Ninth Circuit.
    Argued and Submitted Aug. 9, 1982.Decided Aug. 25, 1982.
    
      1
      Edward P. Moffat, Fresno, Cal., for defendant-appellant.
    
    
      2
      Phillip S. Cronin, Asst. U. S. Atty., Fresno, Cal., for plaintiff-appellee.
    
    
      3
      Appeal from the United States District Court for the Eastern District of California.
    
    
      4
      Before CHAMBERS and WALLACE, Circuit Judges, and JAMESON,* District Judge.
    
    
      5
      Appellant pleaded guilty to bank robbery (18 U.S.C. § 2113(a)) and was thereafter the subject of a thorough psychiatric review prior to sentencing.  The district judge offered him the option of a voluntary commitment to a state mental institution, but appellant flatly refused the offer.  He was then sentenced to ten years under 18 U.S.C. 4205, well within the twenty-year maximum for the offense in question.  He argues that the sentence is disproportionate to the offense, given his background.
    
    
      6
      The sentence was well within statutory maximum limits and there are no reasons advanced by appellant that would justify our interference with the trial judge's sentencing function.  Dorszynski v. United States, 418 U.S. 424, 440-441, 94 S.Ct. 3042, 3051, 41 L.Ed.2d 855 (1974); United States v. DeWald, 669 F.2d 590 (9th Cir. 1982).
    
    
      7
      Affirmed.
    
    
      
        *
         The Honorable William J. Jameson, United States District Judge for the District of Montana, sitting by designation
      
    
    